        Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 1 of 18




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA


 Ryan Lacon,
                                                           Civil Action No. 21-3957
        Plaintiff,

                v.

 EDUCATION PRINCIPLE FOUNDATION;
 SOUTH UNIVERSITY-MEMBER, LLC; SOUTH
 UNIVERSITY, SAVANNAH, LLC and YODEL
 TECHNOLOGIES, LLC,

        Defendants.

    SOUTH DEFENDANTS’ UNOPPOSED MOTION FOR ENTRY OF PROPOSED
                        PROTECTIVE ORDER

       Defendants Education Principle Foundation, South University-Member, LLC, South

University, Savannah, LLC (collectively, “South Defendants”) move this Court for entry of the

Proposed Protective Order attached as Exhibit “A” to this Motion, for the reasons set forth in the

attached Memorandum of Law, which is incorporated herein by reference. Plaintiff Ryan Lacon

and Defendant Yodel Technologies, LLC do not oppose this motion.
        Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 2 of 18




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA


 Ryan Lacon,
                                                           Civil Action No. 21-3957
        Plaintiff,

                v.

 EDUCATION PRINCIPLE FOUNDATION;
 SOUTH UNIVERSITY-MEMBER, LLC; SOUTH
 UNIVERSITY, SAVANNAH, LLC and YODEL
 TECHNOLOGIES, LLC,

        Defendants.

 MEMORANDUM OF LAW IN SUPPORT OF SOUTH DEFENDANTS’ UNOPPOSED
       MOTION FOR ENTRY OF PROPOSED PROTECTIVE ORDER

       Defendants Education Principle Foundation, South University-Member, LLC, and South

University, Savannah, LLC (collectively, “South Defendants”) submit this memorandum of law

in support of their Unopposed Motion for Entry of Proposed Protective Order. Plaintiff Ryan

Lacon (“Lacon”) and Defendant Yodel Technologies, LLC (“Yodel”) do not oppose the Motion

for Entry of Proposed Protective Order.

                                          BACKGROUND

       Lacon brings claims under the Telephone Consumer Protection Act arising from alleged

calls made to his cellular phone in June and July 2020. Discovery in this matter has involved the

production of confidential personal, business, and/or proprietary information. Special protection

from public disclosure and from use for any purpose other than litigating this action is warranted.

Specifically, parties have requested in discovery, have produced, or could produce documents

and information relating to the following:




                                                2
          Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 3 of 18




        The personal information of prospective consumers, including their names, telephone

         numbers, addresses, and educational and occupational background, among other

         information

        Parties’ internal marketing strategies and procedures containing proprietary information

        Contracts between parties containing proprietary information about the parties’

         businesses, pricing, and business model

         Parties have not delayed discovery pending entry of this Proposed Order. Rather, the

parties are completing written discovery and have abided by the terms of this Proposed

Protective Order. However, South Defendants respectfully request that the Court enter the

Proposed Protective Order so that it is in place when the parties take depositions. Further, the

Order will protect documents already produced and documents produced by third parties where

the third party may not be comfortable relying on the agreement of counsel to maintain the

confidentiality of discovery materials. Neither Lacon nor Yodel oppose entry of this protective

order.

                                      LEGAL ARGUMENT

         Good cause exists to justify the South Defendants’ unopposed request for entry of a

protective order. See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 786 (3d Cir. 1994)

(“whether an order of confidentiality is granted at the discovery stage or any other stage of

litigation, including settlement, good cause must be demonstrated to justify the order.”). “Good

cause is established showing that disclosure will work a clearly-defined and serious injury to the

party seeking closure.” Id. (citations omitted). In determining whether good cause exists, the

Court must weigh the harm that would result if the information is not protected from disclosure

to the public.


                                                   3
         Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 4 of 18




       The following factors may be balanced by the court, but are not mandatory or exclusive:

(1) whether disclosure will violate any privacy interests; (2) whether the information is being

sought for a legitimate purpose or for an improper purpose; (3) whether disclosure of the

information will cause a party embarrassment; (4) whether confidentiality is being sought over

information important to public health and safety; (5) whether the sharing of information among

litigants will promote fairness and efficiency; (6) whether a party benefitting from the order of

confidentiality is a public entity or official; and (7) whether the case involves issues important to

the public. In re Avandia Mktg., Sales Practices & Prods. Liab. Litig., 924 F.3d 662, 661 (3d.

Cir. 2019) (citing Glendmede Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995) (citing

Pansy, 23 F.3d at 787–91)). “The party seeking to overcome the presumption of [public] access

[to confidential materials] bears the burden of showing that ‘the interest in secrecy outweighs the

presumption’” by showing that “the material is the kind of information that the courts will

protect and that disclosure will work a clearly defined and serious injury to the party seeking

closure.” In re Avandia Mktg., 924 F.3d at 672 (citing Bank of Am. Nat’l Trust & Sav. Ass’n v.

Hotel Rittenhouse Assocs., 800 F.2d 339, 344 (3d Cir. 1986) and Miller v. Ind. Hosp., 16 F.3d

549, 551 (3d Cir. 1994)).

       Here, application of the Pansy factors warrants entry of the proposed Protective Order to

protect the privacy interest of nonparties’ personal information and the confidentiality of

personal and business information.

       First, discovery could include information such as individual’s names, phone number,

and addresses. This is the kind of private information that courts have protected. See Castle v.

Crouse, No. 03-5252, 2004 LEXIS 9475, *7 (E.D. Pa. May 24, 2004) (finding that good cause

exists to enter a protective order for identifying personal information such as name and address.).



                                                  4
          Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 5 of 18




 To the extent that any confidential personal information of non-parties to the action is produced,

 good cause exists to protect it from public disclosure.

        Second, confidential business information should be protected. Discovery will likely

 include party and non-party documents referencing business models, marketing, plans, and

 contracts with third-party providers. A failure to protect this information will harm the

 competitive standing of defendants and non-party businesses. This business information is also

 the type that courts will protect See Leucadia, Inc. v. Applied Extrusion Technologies, Inc., 998

 F.2d 157, 166 (3d Cir. 1993); Lepage’s, Inc. v. 3M, No. 97-3983, 1997 LEXIS 18713 (E.D.Pa.

 Nov. 18, 1997). Good cause exists to protect the confidential business information subject to

 discovery in this case.

        In the light of the application of the Pansy factors as discussed, the Court should exercise

 its discretion and enter the Proposed Protective Order.

                                          CONCLUSION

        For all of the foregoing reasons, South Defendants respectfully request that the Court

 grant their Unopposed Motion for Entry of Proposed Protective Order and enter and approve the

 Proposed Protective Order attached as “Exhibit A.”

 Dated: February 10, 2022
                                       Respectfully submitted,

Freeman, Mathis & Gary, LLP                            Maynard Cooper & Gale
Justin J. Boron & Kayla M. Panek                       Ollie A. Cleveland, III
1600 Maket Street, Suite 1210                          1901 6th Avenue North, Suite 1700
Philadelphia, PA 19103                                 Birmingham, AL 35203
T: 215.789.4919                                        T: 205.254.1000
Justin.boron@fmglaw.com                                tcleveland@maynardcooper.com
Kayla.panek@fmglaw.com
                                                       Brian T. Sattizahn
                                                       655 Gallatin St. SW
                                                       Huntsville, AL 35801
                                                       T: 256-562-1163

                                                  5
         Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 6 of 18


BSattizahn@maynardcooper.com
Attorneys for Defendants Education Principle
Foundation, South University-Member, LLC,
and South University, Savannah, LLC




                                               6
Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 7 of 18
         Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 8 of 18




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA


 Ryan Lacon,
                                                            Civil Action No. 21-3957
        Plaintiff,

                v.

 EDUCATION PRINCIPLE FOUNDATION;
 SOUTH UNIVERSITY-MEMBER, LLC; SOUTH
 UNIVERSITY, SAVANNAH, LLC and YODEL
 TECHNOLOGIES, LLC,

        Defendants.

                            [PROPOSED] PROTECTIVE ORDER

       The Court has considered South Defendants’ motion for a protective order, unopposed by

Plaintiff or Defendant Yodel Technologies, and a concludes that a Protective Order is warranted

to bind the parties, and any non-party subject to discovery in this action, to the following terms

governing the production and use of Confidential Information in this action.

I.     SCOPE OF PROTECTIVE ORDER

       This Protective Order applies to the attorneys of record in this case, the parties, including

any officers, directors, employees, agents, and representatives of the party, and any non-parties

who execute a consent to be bound by this order. The order applies to all documents or

information, including from any non-party, that are produced or generated in connection with

discovery or Rule 26(a) disclosures in this case (“Discovery Materials”). In addition, this

Protective Order allows for the parties to file Confidential Information with the Court under seal,

subject to the Eastern District of Pennsylvania Local Rule 5.1.4. This Protective Order applies
           Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 9 of 18




regardless of whether Confidential Information was produced before or after entry of this

Protective Order.

   II.         DEFINITION OF CONFIDENTIAL INFORMATION

          1.     “Confidential Information” means any information, whether oral or in

documentary or other tangible form, that any party reasonably and in good faith believes is

information protectable under F.R.C.P. 26(c)(1)(G). This includes, but is not limited to, (1) non-

public, confidential, proprietary, or commercial information not readily ascertainable through

lawful means by the public or the receiving party; (b) information that is commercially sensitive,

including, without limitation, research or business development; and (c) information kept

confidential pursuant to law, regulation, or agreement with a third party.

          2.     “Confidential Information” includes not only those items or things that are

expressly designated as such, but also any information derived from Confidential Information,

and all copies, excerpts, summaries, testimony, and oral conversation related to the designated

Confidential Information.

   III.        DESIGNATION OF CONFIDENTIAL INFORMATION

          1.     Designation of Confidential Information must be made by placing the word

“CONFIDENTIAL” on the document. Except for documents produced for inspection at the

party’s facilities, the designation of Confidential Information must be made before, or

contemporaneously with, the production or disclosure of that information. In the event that

documents are produced for inspection at the party’s facilities, documents may be produced for

inspection before being marked “CONFIDENTIAL.” Once produced for copying, any

documents containing Confidential Information will then be marked “CONFIDENTIAL” after

copying but before delivery to the party who inspected and designated the documents. Parties
        Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 10 of 18




will not waive confidentiality by inspecting Confidential documents before they are copied and

marked “CONFIDENTIAL.”

              i.       Any party, including any third party, may obtain Confidential treatment

for any information disclosed in this litigation.

             ii.       In answering any interrogatory, request for admission, or part thereof, a

party may designate its answer as Confidential by placing the word “CONFIDENTIAL” on the

document.

       2.       If a producing party discovers after the production of a document that it has

inadvertently failed to designate the document as “CONFIDENTIAL” material, it may within

thirty (30) days after production give written notice to the receiving party that the document is

Confidential material, whereupon:

              i.       the receiving party will, to the extent possible, retrieve all copies of the

inadvertently produced document and return them to the producing party;

             ii.       the producing party will simultaneously provide copies of the same

document with each page marked “CONFIDENTIAL”; and

            iii.       thereafter the parties will treat the copies as Confidential Information.

       3.       If a party receives documents from a non-party pursuant to a formal or informal

discovery request, any party may designate any or all of the documents as Confidential

Information. The designating party will give all other parties a list of the documents, by Bates

number, designated as Confidential Information.

       4.       Portions of depositions of a party’s present and former officers, directors,

employees, agents, and representatives must be deemed Confidential Information when the

deposition is taken. If a party discovers after the conclusion of a deposition that it has
         Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 11 of 18




inadvertently failed to designate the deposition testimony as Confidential, it may designate the

testimony as Confidential by writing to counsel for the opposing parties no later than thirty (30)

days after the conclusion of the deposition. Before the end of the 30 days, the parties shall treat

the entire deposition testimony, transcript, and exhibits as if they had been designated as

Confidential Information. After 30 days from the completion of the deposition, the parties need

not treat any part of the deposition transcript or exhibits as confidential unless a party has

designated it as Confidential Information under this order.

   IV.        USE OF CONFIDENTIAL INFORMATION GENERALLY

         1.       A person subject to this order may not use information and documents designated

“CONFIDENTIAL” under this Order for any purpose except for use in this action.

         2.       A person subject to this order may not disclose or permit disclosure of any

documents or information designated as “CONFIDENTIAL” under this Order to any other

person or entity, except:

                i.       Disclosure may be made to attorneys of record in this action and their

employees who they reasonably believe have direct responsibility for the preparation and trial of

this litigation. Any employee to whom counsel makes a disclosure must be advised of this Order

and sign the attached Acknowledgment of Protective Order.

               ii.       Disclosure may be made to the author and any recipients.

              iii.       Disclosure may be made to court reporters and any person specifically

engaged for the limited purpose of making photocopies of documents. Before disclosure to a

court reporter or person engaged in making photocopies of documents, that person must agree to

be bound by this Order by signing the attached Acknowledgment of Protective Order.
        Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 12 of 18




             iv.       Disclosure may be made to consultants, investigators, or experts

(hereinafter referred to collectively as “experts”) employed by the parties to assist in the

litigation. Before disclosure to any expert, the expert must be informed of and agree to the

provisions of this Order by signing the attached Acknowledgment of Protective Order.

             v.        Disclosure may be made to employees of a party required in good faith to

provide assistance in the conduct of the litigation. Before disclosure, employees must agree to be

bound by the terms of this Order by signing the attached Acknowledgment of Protective Order.

             vi.       Disclosure may be made to deponents, designated trial or hearing

witnesses, and their counsel during depositions, trial, or pretrial hearings in the litigation.

            vii.       Disclosure may be made to the Court, its clerks and staff (including the

court having jurisdiction of any appeal), and the jury in the litigation.

           viii.       Disclosure may be made to independent litigation support services,

including document reproduction services, computer imaging services, and demonstrative exhibit

services. Before disclosure, such services must agree to be bound by this Order by signing the

attached Acknowledgment of Protective Order.

             ix.       Disclosure may be made to outside counsel engaged to provide assistance

and/or advice related to the subject matter of this litigation, and to any employee of an insurer of

any party who has direct file-handling responsibility for any claim arising from this litigation.

Before disclosure to outside counsel or employee of an insurer, they must agree to be bound by

this Order by signing the attached Acknowledgment of Protective Order.

              x.       Disclosure may be made upon written permission of the party who

designated the information as Confidential. Written permission for disclosure must include the

scope of permitted disclosure, including the specific documents permitted to be disclosed, to
        Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 13 of 18




whom the documents may be disclosed, the timeframe for permitted disclosure, the manner of

transmission of the Confidential Information, and any other limitation the permitting party deems

necessary.

        3.       Except as provided in Paragraph IV(2)(i-ix), counsel for the parties must keep all

Confidential Information received under this Order secure within their exclusive possession.

Every person who handles Confidential Information must be informed of the terms of this Order

and agree to be bound by it before disclosure by completing the attached Acknowledgment of

Protective Order.

        4.       If Confidential Information is copied or summarized, that copy or summary must

be marked “CONFIDENTIAL” at the time it is created.

   V.        DESIGNATION OF “CONFIDENTIAL-ATTORNEYS’ EYES ONLY”
             INFORMATION

        1.       Material that a party in good faith believes should be subjected to a higher level of

confidentiality may be designated “CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

Attorneys’ Eyes Only information is subject to all restrictions and conditions that apply to

Confidential material. In addition, Attorneys’ Eyes Only information cannot be disclosed to

anyone except persons described in Paragraphs IV(2)(i-iii, vii). When Attorneys’ Eyes Only

information is used at deposition, only those to whom such material may be disclosed may

remain in attendance.

               i.       Parties must mark materials under this provision as: “CONFIDENTIAL –

ATTORNEYS’ EYES ONLY.”

              ii.       Material that may be designated as Attorneys’ Eyes Only includes: (a)

trade secrets; (b) sensitive financial or strategic commercial information, where disclosure of the

information could cause harm to a party’s competitive position; (c) material or information
         Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 14 of 18




concerning which a party has an independent obligation of confidentiality to a third party; and

(d) an individual’s family, medical, financial, or personnel records, or other highly sensitive or

personally identifying information.

              iii.      Discovery responses and deposition testimony may be designated

Attorneys’ Eyes Only in a manner similar to that described in Paragraphs III(1-3), but Attorneys’

Eyes Only designations must be made within 10 days rather than 30 days.

   VI.        ADDITIONAL MISCELLANEOUS PROVISIONS

         1.      If any answers to interrogatories, transcripts of depositions, responses to requests

for admissions, or any other papers filed or to be filed with the Court in this litigation contain

Confidential Information or Attorneys’ Eyes Only information, these papers must be filed under

seal by the filing party via the Court’s electronic filing system or in redacted form agreed upon

by the parties. The filing party must take all steps necessary to ensure the documents are not

available to the general public. The material submitted under seal must be accompanied by a

motion to seal, a statement of reasons why the material is Confidential, and a proposed order.

         2.      If a party learns that, by inadvertence or otherwise, it has disclosed Confidential

Information to any person not authorized under this Order, the party must immediately (a) use its

best efforts to retrieve all copies of the Confidential Information; (b) inform the person or

persons to whom unauthorized disclosures were made of all of the terms of this Order, and

require that the person sign the attached Acknowledgment of Protective Order; and (c) inform

the party who designated the information as Confidential of the unauthorized disclosure.

         3.      Compliance with this Protective Order is not an admission that any documents are

admissible in evidence. Compliance is not a waiver of objections concerning use of the

documents. Agreeing to this Protective Order is not admission by a party that any document or
        Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 15 of 18




material designated by another party as Confidential Information or Attorneys’ Eyes Only

contains proprietary or other confidential matter. Agreeing to this Protective Order will not

prejudice the right of any party (i) to seek the Court’s determination of whether any particular

document or material should be deemed Confidential, or Attorneys’ Eyes Only Material or (ii) to

seek relief from any provision of this Protective Order, either generally or with respect to any

particular documents.

       4.      If another court or administrative agency subpoenas or orders production of

Confidential Information or Attorneys’ Eyes Only information, a party receiving that subpoena

or order must promptly notify the party who produced the materials of the subpoena or order.

The receiving party must also allow the party who produced the materials a reasonable period of

time to oppose or quash the subpoena or order before providing the materials to the person or

entity seeking them. Compliance with any subpoena or order will only be a violation of this

Order if a protective order barring disclosure of the information is entered in advance of the

response date for the subpoena or order and communicated to the party under subpoena or order.

       5.      Within thirty (30) days of the conclusion of the above-captioned case, including

any appeals, parties must return all Confidential or Attorneys’ Eyes Only Material under this

Order to the originating party, or must certify the information to have been destroyed. This Order

will continue to be binding after the conclusion of this litigation.

       6.      Any party may challenge a designation of “CONFIDENTIAL” or

“CONFIDENTIAL – ATTORNEYS’ EYES ONLY” upon motion, and the party claiming the

designation bears the burden of showing that the designation is appropriate. In the event of any

dispute over designation, the Parties must meet and confer in good faith regarding re-designation

before bringing the matter to the Court. A party moving to modify this Order to provide for
        Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 16 of 18




greater restrictions on disclosure must show that such a modification is necessary to protect the

movant’s interests.



                                             BY THE COURT:

                                                      /s/
                                                     JOSHUA D. WOLSON, J.
         Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 17 of 18




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA


 Ryan Lacon,
                                                            Civil Action No. 21-3957
         Plaintiff,

                v.

 EDUCATION PRINCIPLE FOUNDATION;
 SOUTH UNIVERSITY-MEMBER, LLC; SOUTH
 UNIVERSITY, SAVANNAH, LLC and YODEL
 TECHNOLOGIES, LLC,

         Defendants.

                      ACKNOWLEDGMENT OF PROTECTIVE ORDER


        I, ___________________________, attest as follows:



        1.     I understand that Confidential Information may be disclosed to me under the

terms of this Protective Order attached to this Acknowledgment. I have a copy of and have read

this Protective Order, and I agree to comply with and be bound by its terms. I also agree to be

subject to the jurisdiction of this Court for the purpose of enforcing this Protective Order and this

Acknowledgment.

        2.     I will not disclose to anyone else the Confidential Information disclosed to me,

nor discuss or describe the substance or content of Confidential Information, except as provided

in the Protective Order. I will use Confidential Information only for the purposes of this

litigation.

        3.     I will not keep any copies of Confidential Information (including notes or other

writings containing or relating to Confidential Information) except to the extent permitted by the
        Case 2:21-cv-03957-JDW Document 38 Filed 02/10/22 Page 18 of 18




Protective Order, and, upon request, will destroy or return Confidential materials to the attorneys

who disclosed this material to me.



Dated: ____________________________                  Signature: ___________________________

                                                     Employer: ___________________________
